                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                    )
                                            )       No. 21-mj-2839
       v.                                   )
                                            )       JUDGE FRENSLEY
BRANDON MILLER                              )

                     UNITED STATES’ MOTION FOR DETENTION

       COMES NOW the United States of America by Mary Jane Stewart, Acting United States

Attorney, and Joshua A. Kurtzman, Assistant United States Attorney, and moves this Court for

detention of the Defendant in this matter under 18 U.S.C. § 3142.

       The United States would submit that the conduct underlying the charges outlined in the

Criminal Complaint involves significant danger to the community. As the Criminal Complaint

alleges, Brandon Miller led a gun trafficking effort to purchase firearms in Middle Tennessee and

illegally arm individuals involved in violent crimes and shootings in Chicago. The Defendant is

also currently facing court martial proceedings through the military based upon an alleged sexual

assault he committed. Likewise, as the Defendant faces significant civilian and military justice

charges and has very few, if any, connections to the Middle District of Tennessee, the Defendant

would pose a significant flight risk if he were released. Consequently, the United States submits

that the Defendant is both a danger to the community and a flight risk and should be detained

pending trial.




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       The United States respectfully requests a continuance of three business days in order to

adequately prepare for the hearing in this matter.

                                                     Respectfully submitted,

                                                     MARY JANE STEWART
                                                     Acting United States Attorney

                                              By:
                                                      /s/ Joshua A. Kurtzman
                                                     JOSHUA A. KURTZMAN
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                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing will be served electronically
to counsel for defendant via CM/ECF and hand delivered on the 11th day of May 2021.

                                                     /s/ Joshua A. Kurtzman
                                                     JOSHUA A. KURTZMAN




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